Filed 10/24/19                                  Case 19-21640                                      Doc 165




            1    2 PAGES
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            7
            8                         UNITED STATES BANKRUPTCY COURT

            9                           EASTERN DISTRICT OF CALIFORNIA

           10                                   SACRAMENTO DIVISION
           11                                                Case No.     19-21640
                 In re
           12                                                Chapter 13
                 DEBORA LEIGH
           13    MILLER - ZURANICH                           DCN: DTK-2
           14                         Debtor.                JOINDER IN OPPOSITION TO
                                                             DEBTOR’S MOTION
           15                                                TO RECONSIDER

           16                                                DATE:        November 5, 2019

           17                                                TIME:        9:30 a.m.

           18                                                DEPARTMENT B
                                                             COURTROOM 32
           19                                                Hon. Christopher D. Jaime

           20

           21            Creditor Hall Mortgage Fund, LLC hereby joins in the opposition to the Debtor’s
           22    Motion to Reconsider Hearing [sic] on Motion to Convert to Chapter 7” which
           23

           24
                                                    1
                             JOINDER IN OPPOSITION TO MOTION TO RECONSIDER
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            1    opposition was filed on October 24, 2019 on behalf of objecting creditor OCRE

            2    Investment Fund 1, LLC as Docket No. 163.

            3    DATE:        October 24, 2019         KIRBY & McGUINN, A P.C.

            4

            5                                          By: /s/ Dean T. Kirby, Jr.
                                                       Dean T. Kirby, Jr.
            6                                          Attorneys for Creditor
                                                       Hall Mortgage Fund, LP
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                            JOINDER IN OPPOSITION TO MOTION TO RECONSIDER
